     Case 3:16-cv-02318-GAG-SCC Document 74 Filed 09/14/17 Page 1 of 7




                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO

IVETTE M. MARTINEZ GONZALEZ, ET
AL.,
        Plaintiffs,

                          v.
                                                CIVIL NO. 16–2077 (GAG–BJM)
CATHOLIC SCHOOLS OF THE ARCHIDI
OCESES OF SAN JUAN PENSIONPLAN,
ET AL.,

        Defendants.


                      JOINT MOTION FOR CONSOLIDATION

To The Honorable Court:


      Because it would help secure a “just, speedy, and inexpensive determination of

[this] action and proceeding,” Fed. R. Civ. P. 1, the appearing parties—the plaintiffs

and Defendants Superintendence of the Catholic Schools of the Archdioceses San Juan,

the Trust of the Catholic Schools of the Archdiocese of San Juan Pension Plan, and

Samuel Soto—respectfully move under Federal Rule of Civil Procedure 42(a) to

consolidate this case—which “having the earliest docket number,” should be “designated

as the lead case,” D.P.R. Civ. R. 42—with Civil No. 16-2318 (ADC).

     Argument

      Federal Rule of Civil Procedure 42(a), and its local counterpart, give this Court

ample discretion to consolidate cases “[i]f actions before the court involve a common
                                          -1-
      Case 3:16-cv-02318-GAG-SCC Document 74 Filed 09/14/17 Page 2 of 7




question of law or fact, the court may: ... (2) consolidate the actions . . . .” Not surprisingly,

then, the First Circuit instructs courts to see “whether the . . . proceedings involve a

common party and common issues of fact or law. Once this determination is made, the

trial court has broad discretion in weighing the costs and benefits of consolidation to

decide whether that procedure is appropriate.” Seguro de Servicio de Salud v. McAuto Sys.

Group, Inc., 878 F.2d 5, 8 (1st Cir. 1989) (citations omitted). Common sense usually guides

this determination: Consolidation is appropriate if it will “promote the aims of all the

parties [and] economize time and effort without circumscribing the opportunity for full

litigation of all relevant claims,” but may be unwarranted if prejudice to a party would

outweigh consolidation’s benefits. Rodriguez-Cruz v. Stewart Title Puerto Rico, Inc., 88 F.

Supp. 3d 23, 24 (D.P.R. 2015) (Gelpí, J.) (quoting González–Quiles v. Coop. De Ahorro Y

Credito De Isabela, 250 F.R.D. 91, 92 (D.P.R. 2007)); accord, e.g., Levesque v. State of New

Hampshire, CIV. 09-CV-248-JD, 2010 WL 2367346, at *43 (D.N.H. May 12, 2010).

      This case and the one presided over by the Chief Judge easily fit this paradigm. To

begin with, this motion for consolidation is being properly “presented” here: This is the

case “first filed within the cases identified for consolidation.” D.P.R. Civ. R. 42. (Its dozens

of plaintiffs also dwarf No. 16-2318’s two claimants.) And both cases share most of the

defendants—and definitely share the main defendants: Those associated with the

relevant pension plan. And although the plaintiffs here are different from the two

plaintiffs there, their suits advance and seek almost identical goals and remedies. For


                                               -2-
     Case 3:16-cv-02318-GAG-SCC Document 74 Filed 09/14/17 Page 3 of 7




consolidation purposes, then, they are similarly situated individuals. Compare ECF No.

144 (the amended and thus operative complaint) (“This is an action arising under . . .

ERISA to recover benefits due under a multiple employer defined benefits pension plan,

to redress breaches of fiduciary duties under ERISA, to recover statutory penalties caused

by Defendants’ failure to make disclosure as required by ERISA . . . .”); with Cardoza-

Estremera v. Berrios, No. 16-2318, 2017 WL 3098089, *1 (D.P.R. July 20, 2017) (“The

complaint alleges that defendants have mismanaged plaintiffs' pension plan, violating .

. . (ERISA), 29 U.S.C. § 1001 et seq., and also Puerto Rico law in the process”) (citation

omitted). After all, all their claims arise out of the same series of facts and events: The

unfortunate financial collapse of the Catholic Schools of the Archdioceses of the San Juan

Pension Plan.

     The two actions, then, “involve a common question of law or fact.” Fed. R. Civ. P.

42(a). And consolidation is thus warranted. See Boggs v. Chesapeake Energy Corp., 286

F.R.D. 621, 623 (W.D. Okla. 2012) (holding that “consolidation of the ERISA Actions is

appropriate because each of the ERISA Actions arise from similar allegations against

similar defendants involving common questions of law and fact . . . [and because it]

achieves convenience and economy in the administration of justice. Additionally, to

ensure continued judicial efficiency, the Court finds that any future ERISA actions based

on the same or similar facts and circumstances should be consolidated with the

consolidated ERISA action.”).


                                           -3-
      Case 3:16-cv-02318-GAG-SCC Document 74 Filed 09/14/17 Page 4 of 7




     Policy reasons, too, support consolidation. It will conserve judicial resources: Both

cases probably will be resolved quicker—and probably for less money, too—than if they

were tried separately. See generally Fed. R. Civ. P. 1. This is buttressed by one of the central

and threshold issues that both cases share: Whether the relevant pension plan is an exempt

church plan. Compare Cardoza-Estremera, 2017 WL 3098089, at *3 (“It is no doubt possible

that plaintiffs’ pension plan is an exempt church plan under ERISA, but the Court cannot

simply assume the facts necessary to finding it is one.”); with ECF No. 56 (“The request

for injunctive relief at 10 is hereby NOTED. Because, as the Court indicated in its order at

Docket No. 33, the threshold issue is whether the pension plan at issue is exempt from

ERISA, any injunctive relief ultimately hinges on the merits of this issue”). By

consolidating the two cases, furthermore, no longer will two different judges have to

duplicate efforts by often resolving identical questions.

      “A motion for consolidation will usually be granted unless the party opposing it

can show ‘demonstrable prejudice.’” Seguro de Servicio de Salud, 878 F.2d at 8. Nobody can

plausibly show prejudice here (or in No. 16-2318) let alone demonstrable prejudice. Nor

would consolidation cause any confusion. Quite the contrary is true. As just discussed,

their claims may probably be adjudicated quicker. And some of the witnesses may even

be spared from having to testify twice in the proceedings. Here, as in Pino-Betancourt v.

Hosp. Pavia Santurce, “consolidation would both reduce the litigation costs to the parties

and serve judicial economy.” 928 F. Supp. 2d 393, 395 (D.P.R. 2013). Because all plaintiffs


                                              -4-
      Case 3:16-cv-02318-GAG-SCC Document 74 Filed 09/14/17 Page 5 of 7




may fully litigate each well-pleaded and plausible claim that falls under this Court’s

subject-matter jurisdiction, nobody will be prejudiced by joining all claims into one

action.

     Conclusion

     For the reasons stated, and because the appearing parties have met their burden of

showing that the cases should be consolidated, they respectfully request that this Court

grant this motion.


Dated: September 13, 2017                   Respectfully submitted,


                                             SBGB LLC
                                             Attorneys for the Superintendence of Catholic
                                             Schools of Archdioceses of San Juan, and
                                             Samuel Soto

                                             Corporate Center Building|Suite 202
                                             33 Calle Resolución
                                             San Juan, PR 00920
                                             Tel. (787) 487-6006

                                             /S/ JAIME L. SANABRIA MONTAÑEZ
                                             USDC-PR 225307
                                             jsanabria@sbgblaw.com

                                            FRANK ZORRILLA LAW OFFICE
                                            Attorney Trust of the Catholic Schools of the
                                            Archdioceses of the San Juan Pension Plan
                                            PO Box 191783
                                            San Juan, Puerto Rico 00919-1783
                                            Telephone: (787) 250-1510
                                             s/Frank Zorrilla Maldonado
                                            Frank Zorrilla Maldonado
                                          -5-
Case 3:16-cv-02318-GAG-SCC Document 74 Filed 09/14/17 Page 6 of 7




                                     USDC PR No. 204107
                                     fzorrilla@fzmlaw.com

                                 Attorneys for Plaintiffs
                                 Carlos F. Lopez-Lopez
                                 PO Box 8852
                                 San Juan, PR 00910-0852
                                 787-273-0611 Fax: 787-
                                 501-4150
                                 charlielopez@gmail.com

                                 /s/ CARLOS F. LOPEZ-LOPEZ
                                 USDC-PR 126514
                                 PO Box 9023980
                                 San Juan, PR 00902-3980
                                 787-273-0611
                                 Fax: 787-273-1540
                                 fjamundaray@aol.com

                                 /s/ Francisco J. Amundaray-Rodriguez
                                 USDC-PR 208706




                               -6-
      Case 3:16-cv-02318-GAG-SCC Document 74 Filed 09/14/17 Page 7 of 7




                             CERTIFICATE OF SERVICE

       I certify that, on this day, the foregoing was electronically filed with the Clerk of

Court by using the CM/ECF system, which will send a notice of electronic filing to all

counsel of record. Additionally, I certify that, by filing a copy of this filed motion in Civil

No. 16-2318 (ADC), I will have complied with Local Rule 42, which mandates that “[t]he

motion for consolidation shall be served on all parties within all cases for which

consolidation is sought.”



                                       By: /s/ Jaime L. Sanabria Montañez




                                             -7-
